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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

BRANDON CHRISTOPHER                     )
HOWARD, #229 852,                       )
                                        )
      Plaintiff,                        )
                                        )
      v.                                )    CASE NO. 2:21-CV-446-WHA-SMD
                                        )
BUSINESS OFFICE CLERK, et al.,          )
                                        )
      Defendants.                       )


                                      ORDER

      This case is before the Court on a Recommendation of the Magistrate Judge entered

on September 28, 2021. Doc. 6.        There being no timely objections filed to the

Recommendation, and after an independent review of the file, the Recommendation is

ADOPTED, and it is hereby

      ORDERED that this case is DISMISSED without prejudice.

      Final Judgment will be entered separately.

      Done, this 18th day of October 2021.


                                    /s/ W. Harold Albritton
                                 W. HAROLD ALBRITTON
                                 SENIOR UNITED STATES DISTRICT JUDGE
